Case 2:02-cv-02920-.]DB-dkv Document 154 Filed 05/03/05 Page 1 of 2 Page|D 117

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z-'::.Et) sir '1§4f @_(;_
rN THE UNITED STATES DISTRICT COURT “,_ n :
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION
JERRY L. BILLINGSLEY,
Plaintiff`,
v. No. 02-2920 B

SHELBY COUNTY, et al.,

Defendants.

 

ORDER DIRECTING CLERK TO ENTER PLAINTIFF'S FILINGS ON THE DOCKET

 

On April 13, 2005 , the 1113 g Plaintiff, Jerry L. Billingsley, filed his motion in opposition to
the Defendant J on Kirkland's motion for summary judgment by placing it in the Court's after hours
depository. Upon subsequent review of the motion, it came to the Court's attention that two
additional motions of the Plaintiff were elipped to the back of the April 13, 2005 filing--motions
in opposition to the motions for Summary judgment filed by Def`endants Shelby County and John
Ford. As these motions Were neither file stamped nor docketed, the Clerk is hereby instructed to
enter these filings on the docket as of April 13, 2005.

IT IS SO ORDERED this _ day of May, 2005.
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(_/

J. N LBREEN \
ITE sTATEs DISTRICTJUDGE

 

This document entered on the docket sheet in compliance
W`tth Rule 58 and/or 79(3} FRCP on . ’ "

 

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Notice of Distribution

This notice confirms a copy of` the document docketed as number 154 in
case 2:02-CV-02920 Was distributed by f`aX, mail, or direct printing on
May 3, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

